
702 S.E.2d 305 (2010)
Anne SCOTT, Administrator for the Estate of David Scott, and Anne Scott, Individually
v.
CITY OF CHARLOTTE.
No. 224P10.
Supreme Court of North Carolina.
October 7, 2010.
Fred W. Devore, Charlotte, Joan Kuruc, Raleigh, for Anne Scott.
Laura K. King, Charlotte, Court Fulton, for City of Charlotte.
Prior report: ___ N.C.App. ___, 691 S.E.2d 747.

ORDER
Upon consideration of the petition filed on the 25th of May 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of October 2010."
